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       150 California Street, 18th Floor
3      San Francisco, California 94111
       Tel: 415.212.9300/Fax: 415.373.9435
4
5      Counsel for Interested Party Edelson PC
6
7
8                           UNITED STATES BANKRUPCY COURT
9                           CENTRAL DISTRICT OF CALIFORNIA
10                                LOS ANGELES DIVISION
11
12       In re:                                  Case No. 2:20-bk-21020-BR
13       THOMAS VINCENT GIRARDI,                 [Chapter 7]
14                      Debtor.
                                                 AMENDED NOTICE OF HEARING ON
15                                               MOTION FOR RELIEF FROM THE
16                                               AUTOMATIC STAY UNDER 11 U.S.C.
                                                 § 362 (ACTION IN NON-
17                                               BANKRUPTCY FORUM) [DKT. No.
18                                               258]
19                                               Amended Hearing Information
20                                               Date: November 2, 2021
                                                 Time: 10:00 a.m.
21                                               Place: Courtroom 1668
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1
2            TO THE HONORABLE BARRY RUSSELL, UNITED STATES
3      BANKRUPTCY JUDGE AND ALL OTHER PARTIES IN INTEREST:
4
5            PLEASE TAKE NOTICE that the Motion for Relief from the Automatic Stay
6      Under 11 U.S.C. § 362 (Action in Non-Bankruptcy Forum) [dkt. no. 258] filed on
7      October 4, 2021, has been set for hearing on November 2, 2021 at 10:00 am in this
8      Court, Courtroom 1668, located at 255 East Temple Street, Los Angeles, California
9      90012.
10
11
12                                                  Respectfully Submitted,
13
14     DATED: October 7, 2021                       EDELSON PC
15                                                  By: /s/ Rafey S. Balabanian
16                                                  Rafey S. Balabanian (SBN 315962)
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                                          PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
350 North LaSalle Street, 14th Floor, Chicago, Illinois 60654


A true and correct copy of the foregoing document entitled: NOTICE OF MOTION AND MOTION FOR RELIEF FROM
THE AUTOMATIC STAY UNDER 11 U.S.C. § 362 (with supporting declarations) (ACTION IN NONBANKRUPTCY
FORUM) will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d);
and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 10/07/2021 , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
United States Trustee (LA), ustpregion16.la.ecf@usdoj.gov; Counsel For Trustee: Levene, Neale, Bender, Yoo & Brill,
tjy@lnbyb.com, ctp@lnbyb.com, rps@lnbyb.com; Counsel for Petitioning Creditors: Andrew Goodman,
agoodman@andyglaw.com; Counsel for Conservator, Robert Girardi: Leonard Pena, lpena@penalaw.com,
penasomaecf@gmail.com, penalr72746@notify.bestcase.com
                                                                      Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 10/07/2021 , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.
Debtor: Thomas Vincent Girardi 1126 Wilshire Boulevard Los Angeles, CA 90017
Purchaser: Jeffrey D. Stratton & Leah J. Stratton c/o Lisa Blodgett 47-100 Washington Street, Suite 204 La Quinta,
California 92253
Ruigomez Creditors: c/o ABIR COHEN TREYZON SALO, LLP 16001 Ventura Blvd., Suite 200 Encino, CA 91436

                                                                                             Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                  , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                             Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


  10/07/2021          J. Eli Wade-Scott                                                  /s/J. Eli Wade-Scott
 Date                          Printed Name                                                     Signature




            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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2.   TO BE SERVED VIA U.S. MAIL:

     Broker: William Friedman 1608 Montana Avenue Santa Monica, CA 90403 Broker Steve
     Enslow 78000 Fred Waring Drive Suite 202

     Broker: Steve Enslow 78000 Fred Waring Drive Suite 202 Palm Desert, CA 92211

     Courtesy Copy: Honorable Barry Russell United States Bankruptcy Court 255 E. Temple
     St., Suite 1660 Los Angeles, CA 90012
